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 UNITED STATES DISTRICT COURT
 SOUTHERN DISTRICT OF NEW YORK

 ROBYNN EUROPE,
                                                 20-cv-7787 (JGK)
                       Plaintiff,
                                                 MEMORANDUM OPINION
            - against -                          AND ORDER

 EQUINOX HOLDINGS, INC., ET AL.,

                       Defendants.

JOHN G. KOELTL, District Judge:

     The plaintiff seeks to introduce medical records from the

Institute of Contemporary Psychotherapy created by the

plaintiff's mental health provider, Swaroopa Ramkumar, which

detail the plaintiff's mental health history. The defendants

argue that the medical records are inadmissible hearsay.

     The plaintiff's medical records are not inadmissible

hearsay because, based on the plaintiff's proffer, they satisfy

Federal Rule of Evidence 803(6) which provides for an exception

to the rule against hearsay for business records. See Sepulveda

v. City of New York, No. 15-cv-5187, 2020 WL 2836952, at *7 n.3

(E.D.N.Y. May 29, 2020). The plaintiff has provided the medical

records to the Court under seal, together with two

certifications attesting to the fact that they meet the business

records exception provided by Rule 803(6). Although Ramkumar,

the custodian of the medical records, is unavailable to testify

at trial as to the records' satisfaction of the reJuirements of
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the business records exception, the plaintiff has provided

affidavits from both Ramkumar, who created the records, as well

as Andrea Green Lewis, the Director of Operations at the

Institute for Contemporary Psychotherapy, certifying that each

record was made at the time of the event, was kept in the

ordinary course of business, and was made pursuant to the

regular practice of providing mental health therapy at the

Institute for Contemporary Psychotherapy. See ECF Nos. 166-1,

166-2. The plaintiff is permitted to offer a certification that

the documents are business records pursuant to Federal Rules of

Evidence 803(6) and 902(11). See Fed. R. Evict 803(6)       ("[A]ll

these conditions are shown.            by a certification that

complies with Rule 902(11) .").

     The defendant argues that admitting the records would

confuse the jury because the records are unduly complex, and

therefore that admitting the medical records would require

testimony to explain their contents to the jury. However, the

medical records, which have been provided under seal, are not

unduly complex such that a reasonable jury could not understand

their contents. Put another way, the records are "sufficiently

simple" such that they "do[] not require specialized knowledge

or skill to understand." Brady v. Foodliner Inc., No. 15-cv-

4566, 2022 WL 1624040, at *3 (E.D.N.Y. May 21, 2022). Moreover,

Ramkumar, the custodian of the records, is available for a

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deposition before May 4, including by video deposition, if the

defendants wish to depose Ramkumar regarding the contents of the

medical records. See ECF No. 166-2,         ~   6. The parties should

cooperate to select a mutually convenient date for the

deposition prior to trial if the defendants wish to proceed with

that deposition.

     Accordingly, the defendants' application to preclude the

plaintiff from offering the medical records is denied. The Clerk

is directed to close ECF Nos. 166 and 171.

SO ORDERED.

Dated:       New York, New York
             April 25, 2023


                                                  / John G. Koel tl
                                           Uni'l:ed States District Judge




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